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DECLARATION OF MICHAEL G. KOZAK

Pursuant to 28 U.S.C. § 1746, I, Michael G. Kozak, declare and state as follows:

1.

I, Michael G. Kozak, am the Senior Bureau Official within the Bureau of Western
Hemisphere Affairs (WHA) of the United States Department of State, a position I have
held since January 2025. In that capacity, I lead and oversee WHA, including the country
offices handling affairs regarding Central and South America and other countries in the
Hemisphere. I am a career member of the Senior Executive Service, and have served in a
variety of senior positions in the Department of State, including previously as the Acting
Assistant Secretary of WHA, in other positions within WHA, and leading other bureaus
and offices of the Department of State. WHA is responsible for diplomatic relations
between the United States and countries in the Western Hemisphere, including El
Salvador and Venezuela. I make the following statements based upon my personal
knowledge, including from my extensive experience since 1971 engaging in diplomatic
and other work of the Department with respect to El Salvador, Venezuela, and other
countries in the region and around the world, as well as upon information made available
to me in the performance of my official duties.

U.S. government officials from the White House and the Department of State, including
special Presidential envoy Richard Grenell, Secretary of State Marco Rubio, and Special
Envoy for Latin America Mauricio Claver-Carone, have negotiated at the highest levels
with the Government of El Salvador and with Nicolas Maduro and his representatives in
Venezuela in recent weeks for those countries to consent to the removal to Venezuela and
El Salvador of some number of Venezuelan nationals detained in the United States who

are associated with Tren de Aragua (TdA), a designated foreign terrorist organization.
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3. Arrangements were recently reached to this effect with these foreign interlocutors to
accept the removal of some number of Venezuelan members of TdA. These arrangements
were the result of intensive and delicate negotiations between the United States and El
Salvador, and between the United States and representatives of the Maduro regime.

4. The foreign policy of the United States would suffer harm if the removal of individuals
associated with TdA were prevented, taking into account the significant time and energy
expended over several weeks by high-level U.S. government officials and the possibility
that foreign interlocutors might change their minds regarding their willingness to accept
certain individuals associated with TdA removed or might otherwise seek to leverage this
as an ongoing issue. These harms could arise even in the short term, as future
conversations with foreign interlocutors seeking to resolve foreign policy matters would
need to take this issue into account along with other issues, instead of allowing the

discussions to fully move on to other issues.

I declare under the penalty of perjury that the foregoing is true and correct to the best of my
knowledge.

Executed on March 15, 2025, in Arlington, Virgina.

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